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 4
     Attorney for Defendant
 5   JOSE JESUS AGUILAR-MADRIZ
 6
                                 UNITED STATES DISTRICT COURT
 7
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
                                                   )
10   UNITED STATES OF AMERICA,                     )       CASE NO. 2:10-cr-00299-10 WBS
                Plaintiff,                         )
11
          vs.                                      )       STIPULATION [AND PROPOSED ORDER]
12                                                 )       TO CONTINUE STATUS CONFERENCE
     JOSE JESUS AGUILAR-MADRIZ,                    )
13               Defendant.                        )       Date: March10, 2014
                                                   )       Time: 9:30a.m.
14
                                                   )       Honorable William B. Shubb
15                                                 )

16

17           IT IS HEREBY STIPULATED by and between Assistant United States Attorney Justin

18   Lee, Counsel for Plaintiff and Attorney Preciliano Martinez, Counsel for Defendant Jose Jesus
19
     Aguilar-Madriz, that the status conference date scheduled for February 10, 2014, at 9:30 a.m. be
20
     vacated for this defendant only, and a status conference be scheduled for March 10, 2014, at
21
     9:30a.m., with respect to this defendant only.         A plea agreement has been reached in the
22

23   defendant’s related case, 2:11-cr-00365-GEB, which upon sentencing may result in dismissal of
24   this case. The sentencing date has been continued on Judge Burrell’s calendar to February 21,
25
     2014.
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             The court is advised that counsel have conferred about this request that they have agreed
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 2   to the court date of March 10, 2014 and that Mr. Lee has authorized Preciliano Martinez to sign

 3   this stipulation on his behalf.
 4
             The parties agree and stipulate that time should be excluded under 18U.S.C. § 3161 (h)
 5
     (7)(B)(iv) for possible dismissal, up to and including March 10, 2014 the ends of justice are
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 7
     served by a granting an exclusion of time, outweighing the best interests of the public & the

 8   defendant in a speedy trial.
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                                                                 Respectfully Submitted,
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12
     Dated: January 7, 2014                                      /s/ Preciliano Martinez
13                                                               Preciliano Martinez
                                                                 Attorney for Defendant
14                                                               Jose Jesus Aguilar-Madriz
15
     Dated: January 7, 2014                                      /s/ Justin Lee
16                                                               Assistant U.S. Attorney
                                                                 Attorney for Plaintiff
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19

20                                               ORDER
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             Having read and considered the foregoing stipulation, IT IS THE ORDER of the Court
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     that the current February 10, 2014, status conference is hereby vacated, with respect to this
23
     defendant only, and a status conference for this defendant only be set for March 10, 2014 at
24

25   9:30 a.m.

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27
     Dated: January 8, 2014

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